850 F.2d 694
    271 U.S.App.D.C. 1
    FEDERAL TRADE COMMISSION, Appellantv.OWENS-ILLINOIS, INC., et al.
    No. 88-5048.
    
      Civ. A. No. 88-00022.
      United States Court of Appeals,District of Columbia Circuit.
      April 8, 1988.
      Prior report:  681 F.Supp. 27.
      Before ROBINSON, D.H. GINSBURG and SENTELLE, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of Appellant's Suggestion of Mootness and Motion to Vacate Order of the District Court and to Remand With Instructions to Dismiss Complaint, and the Response thereto, it is
    
    
      2
      ORDERED by the court that the motion be granted.  The present appeal, from an order of the district court denying appellant's motion for a preliminary injunction, has become moot as a result of the consummation of the merger sought to be enjoined.  Accordingly, because the case has become moot, the judgment of the District court is vacated, and the case is remanded with instructions to dismiss the complaint.   See United States v. Munsingwear, Inc, 340 U.S. 36, 39, 71 S.Ct. 104, 106, 95 L.Ed. 36 (1950).
    
    
      3
      The Clerk is directed to withhold the issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C. Cir. Rule 15.
    
    